                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  UNITED STATES OF AMERICA, )
                            )
  v.                        )                  No.      3:17-CR-82
                            )
  RANDALL KEITH BEANE       )                  (VARLAN/SHIRLEY)


                              PROPOSED VOIR DIRE QUESTIONS


         COMES the Defendant Randall Keith Beane, through his elbow counsel, and hereby

  submits the following proposed voir dire questions.

     1. Is anyone here familiar with the recent Bundy case and the outcome of that case?

     2. Is anyone here aware of the process that is required to deposit a check larger than

         $9,999.99?

     3. Does anyone here have a family member or close friend that is employed by the

         government? Specifically, but not limited to, Assistant United States Attorneys or federal

         agents.

     4. Does anyone here have any family members or close friends that are employed by the

         state government? Specifically, but not limited to, Assistant District Attorneys or police

         officers.

     5. Does anyone here know of and/or understand the straw man accounts and/or the birth

         certificate accounts held in trust?

     6. Has anyone here ever heard of microprinting?

     7. Does anyone here know that the Federal Reserve is privately owned and not part of the

         Federal Government?




Case 3:17-cr-00082-TAV-DCP Document 89 Filed 01/18/18 Page 1 of 2 PageID #: 3202
     8. Does anyone here understand what maritime/admiralty law is?

     9. Is anyone here aware of what an executive order is? Is anyone here aware that an

         executive order was issued on December 21, 2017 and what that order entails?

     10. Has anyone here ever held, or is presently holding, a strong belief or conviction that was

         in a minority opinion? And if so, did you remain strong in your belief or conviction?

         Has anyone here ever been ridiculed for that minority belief or opinion?

     11. Does anyone here know what a whistleblower is? Does anyone here understand the

         general intentions of the whistleblower’s actions?



         Respectfully submitted this 18th day of January, 2018.



                                                               s/Stephen G. McGrath
                                                               Stephen G. McGrath
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                                                               “Elbow Counsel” for Defendant




                                       CERTIFICATE OF SERVICE

           I hereby certify that a true and exact copy of this document has been served upon counsel
  for all parties of record in this case via this Court’s electronic filing system on this 18th day of
  January, 2018.

                                                               s/Stephen G. McGrath
                                                               Stephen G. McGrath




Case 3:17-cr-00082-TAV-DCP Document 89 Filed 01/18/18 Page 2 of 2 PageID #: 3203
